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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8    ADEN SEAN MULLEN,

 9                                  Petitioner,           Case No. C20-5418-RJB

10           v.
                                                          ORDER DISMISSING PETITION FOR
11    DONALD R. HOLBROOK,                                 WRIT OF HABEAS CORPUS

12                                  Respondent.

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14          The Court, having reviewed petitioner’s petition for writ of habeas corpus, respondent’s

15   answer to the petition, the Report and Recommendation of Mary Alice Theiler, United States

16   Magistrate Judge and the remaining record, hereby finds and ORDERS:

17          (1)     The Report and Recommendation (Dkt. 23) is approved and adopted;

18          (2)     Petitioner’s petition for writ of habeas corpus (Dkt. 12) is DISMISSED as moot;

19          (3)     In accordance with Rule 11 of the Rules Governing Section 2254 Cases in the

20   United States District Courts, a certificate of appealability is DENIED; and

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     ORDER DISMISSING PETITION FOR WRIT
     OF HABEAS CORPUS - 1
              Case 3:20-cv-05418-RJB Document 24 Filed 01/12/21 Page 2 of 2




 1          (4)    The Clerk is directed to send copies of this Order to petitioner, to counsel for

 2   respondent, and to the Honorable Mary Alice Theiler.

 3          DATED this 12th day of January, 2021.



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                                         ROBERT J. BRYAN
 6                                       United States District Judge
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     ORDER DISMISSING PETITION FOR WRIT
     OF HABEAS CORPUS - 2
